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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

 ____________________________________
                                     :
 SANDOZ, INC. and                    :
 RAREGEN, LLC,                       :
                                     :
                   Plaintiffs,       :
                                     :                Case No. 3:19-cv-10170-BRM-LHG
             v.                      :
                                     :
 UNITED THERAPEUTICS, CORP. and      :                              ORDER
 SMITHS MEDICAL ASD, INC.,           :
                                     :
                   Defendants.       :
 ___________________________________ :

        THIS MATTER having been opened to the Court pursuant to Plaintiffs Sandoz Inc. and

 RareGen LLC’s (“Plaintiffs”) Motion for a Preliminary Injunction pursuant to Fed. R. Civ. P. 65(a)

 and Local Civ. R. 65.1 to enjoin Defendants United Therapeutics Corp. and Smiths Medical ASD

 Inc. (“Defendants”) from prohibiting specialty pharmacies from dispensing the CADD-MS® 3

 pump and the cartridges used for that pump to persons other than users of UTC’s Remodulin®,

 (ECF No. 106), and Defendants having opposed the Motion, (ECF No. 122), and Defendants also

 having moved to dismiss the Complaint pursuant to Fed. R. Civ. P. 12(b)(6) (ECF No. 53) and

 Plaintiffs having opposed that Motion (ECF No. 56), and Defendants having replied (ECF No. 59),

 and the Court having reviewed the parties’ submissions filed in connection with the Motion and

 having heard oral argument pursuant to Federal Rule of Civil Procedure 78(a) on December 10,

 2019 (ECF No. 162), for the reasons set forth below and for good cause appearing,

        IT IS on this 29th day of January 2020,

        ORDERED that Plaintiffs’ Motion for a Preliminary Injunction (ECF No. 106) is

 DENIED; and it is further
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           ORDERED that Defendants’ Motion to Dismiss (ECF No. 53) is DENIED; and it is

 further

           ORDERED that the parties shall submit a joint proposed redacted version of the Opinion for

 the Court’s review and, if approved, for posting to the public docket, via email to

 chambers_of_judge_brian_martinotti@njd.uscourts.gov by February 12, 2020.



                                                               /s/ Brian R. Martinotti
                                                               HON. BRIAN R. MARTINOTTI
                                                               UNITED STATES DISTRICT JUDGE
